        UNN-L-000029-21 03/03/2021 8:56:37 AM Pg 1 of 8 Trans ID: LCV2021469028
Case 2:21-cv-07927-KSH-JSA Document 1-3 Filed 04/02/21 Page 1 of 8 PageID: 11




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NJ ID No.: 032222008
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Three University Plaza, Suite 402
Hackensack, New Jersey 07601
(201) 343-1166 Phone
(201) 343-1223 Fax
Attorney for Defendants:
WEREKO KWAME and ZOBENG TRUCKING, LLC
Our File No.: GBSU-2021-1
---------------------------------------------------------------X
EVELYN BYRD and RENE GIBBS,                                        SUPERIOR COURT OF NEW JERSEY
                                                                   LAW DIVISION: UNION COUNTY
                          Plaintiffs,
                                                                   DOCKET NO: UNN-L-29-21
        -vs-
                                                                   CIVIL ACTION
WEREKO KWAME, ZOBENG TRUCKING, LLC,
JOHN AND JANE DOE 1-10 (FICTITIOUS                                 ANSWER TO COMPLAINT,
UNIDENTIFIED INDIVIDUALS) AND ABC                                  AFFIRMATIVE DEFENSES, JURY
CORPORATION 1-10 (FICTITIOUS                                       DEMAND, DESIGNATION OF TRIAL
UNIDENTIFIED BUSINESS ENTITIES),                                   COUNSEL, REQUEST FOR STATEMENT
                                                                   OF DAMAGES, AD DAMNUM DEMAND,
                          Defendants.                              REQUEST FOR INTERROGATORIES,
                                                                   NOTICE PURSUANT TO RULES 1:51-1(a)
--------------------------------------------------------------X    AND 4:28-4(c) AND CERTIFICATIONS

        Defendants, WEREKO KWAME and ZOBENG TRUCKING, LLC, answering Plaintiffs

Complaint, allege:

                                          AS TO THE FIRST COUNT

        1.       Defendants are without knowledge or information sufficient to form a belief as to the

truth of the allegations of                 1 of the First Count.

        2.       Defendants admit only that WEREKO KWAME was operating a vehicle registered to

ZOBENG TRUCKING, LLC, with North Carolina license plate #NE9127, with the consent and

permission of ZOBENG TRUCKIN, LLC, on April 12, 2019 in the area of Randolph Avenue and Route

1 in Rahway, New Jersey and respectfully refer all questions of law and legal conclusions to the

Honorable Court as to                                                             First Count.
         UNN-L-000029-21 03/03/2021 8:56:37 AM Pg 2 of 8 Trans ID: LCV2021469028
Case 2:21-cv-07927-KSH-JSA Document 1-3 Filed 04/02/21 Page 2 of 8 PageID: 12




         3.    Defendants admit only that WEREKO KWAME was operating a vehicle registered to

ZOBENG TRUCKING, LLC, with North Carolina license plate #NE9127, with the consent and

permission of ZOBENG TRUCKIN, LLC, on April 12, 2019 in the area of Randolph Avenue and Route

1 in Rahway, New Jersey and respectfully refer all questions of law and legal conclusions to the

                                                                  3         First Count.

         4.    De                                                                4         First Count as

they are not directed to the answering Defendants and no response is required. To the extent that a

response is required, Defendants deny any negligence or responsibility for any injury Plaintiffs allege

to have sustained.

         5.    Defendants deny                                                             5

Count.

         6.    Defendants deny                                                             6

Count.

         7.    Defendants deny each and ev                                                 7

Count.

                       AS AND FOR A FIRST AFFIRMATIVE DEFENSE

         1.    The Complaint herein fails to state a claim which relief can be granted as to these

Defendants, and these Defendants reserve the right to move, at or before the time for trial, to dismiss

the Complaint for failure to state a claim upon which relief can be granted.

                     AS AND FOR A SECOND AFFIRMATIVE DEFENSE

         2.    This Court lacks jurisdiction over the person of these Defendants by reason of

insufficiency of process and these Defendants reserve the right to move at or before trial for a dismissal

of the Complaint on the ground of lack of jurisdiction because of insufficient of process and/or service.
       UNN-L-000029-21 03/03/2021 8:56:37 AM Pg 3 of 8 Trans ID: LCV2021469028
Case 2:21-cv-07927-KSH-JSA Document 1-3 Filed 04/02/21 Page 3 of 8 PageID: 13




                        AS AND FOR A THIRD AFFIRMATIVE DEFENSE

       3.      The Court lacks in personam jurisdiction over these Defendants, and these Defendants

reserve the right to quash service of the Summons and Complaint.

                       AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

       4.      At the time and place mentioned in the Complaint, these Defendants were not guilty of

any negligence which was a proximate cause of the alleged accident, injuries and damages of which the

Plaintiff complains.

                        AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

       5.      These Defendants violated no legal duty owed by Defendants, if any, to the Plaintiff.

                        AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

       6.      The Plaintiff was guilty of the sole negligence which was the proximate cause of the

damages complained of.

                         AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

       7.      The Plaintiff was guilty of contributory negligence during the accident at issue.

                       AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

       8.      The Plaintiff was guilty of comparative negligence of a greater degree than the

negligence of these Defendants, which is denied.

                        AS AND FOR A NINTH AFFIRMATIVE DEFENSE

       9.      The alleged damages sustained by the Plaintiff were the proximate result of the acts

and/or omissions of parties over which these Defendants exercised no control.

                        AS AND FOR A TENTH AFFIRMATIVE DEFENSE

       10.     This accident resulted from circumstances and conditions beyond the control of these

Defendants.
          UNN-L-000029-21 03/03/2021 8:56:37 AM Pg 4 of 8 Trans ID: LCV2021469028
Case 2:21-cv-07927-KSH-JSA Document 1-3 Filed 04/02/21 Page 4 of 8 PageID: 14




                        AS AND FOR A ELEVENTH AFFIRMATIVE DEFENSE

            11.    Plaintiff assumed the risk of conduct for the incident out of which the Complaint has

arisen.

                        AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

            12.    The injuries and damages set forth in the Complaint were caused by and arose out of

risks of which Plaintiff had full knowledge and which Plaintiff assumed.

                      AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

            13.    The Plaintiff has failed to satisfy the terms, provisions and conditions of N.J.S.A.39:6A-

1 et set., and these Defendants reserve the right to move to dismiss the Complaint at or before the time

of trial.

                      AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

            14.    The Plaintiff has failed to properly name the parties in interest.

                       AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE

            15.    The Plaintiff has named parties herein who are not proper parties to this action.

                       AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

            16.    Defendants are not and cannot be found liable for the damages alleged by Plaintiff

herein.

                     AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE

            17.    Plaintiff failed to wear a seatbelt and any damage owed must be reduced by Plaintif

comparative negligence in failing to wear same.

            WHEREFOR Defendants, WEREKO KWAME and ZOBENG TRUCKING, LLC, demand

judgment dismissing the Complaint, together with the costs and disbursements of this action.

                                               JURY DEMAND

            PLEASE TAKE NOTICE that these Defendants demand a trial by jury on all issues so triable.
      UNN-L-000029-21 03/03/2021 8:56:37 AM Pg 5 of 8 Trans ID: LCV2021469028
Case 2:21-cv-07927-KSH-JSA Document 1-3 Filed 04/02/21 Page 5 of 8 PageID: 15




                             DESIGNATION OF TRIAL COUNSEL

       Pursuant to R.4:5-1, Roberto D. Uribe, is hereby designated as trial counsel.

                         REQUEST FOR STATEMENT OF DAMAGES

       These Defendants request, pursuant to R. 4:5-2, that within 5 days after service hereof, you serve

upon the undersigned a written statement of damages claimed by the Plaintiff.

                    REQUEST FOR ANSWERS TO INTERROGATORIES

       Defendants hereby demand that the Plaintiff provide answers to Uniform Interrogatories within

sixty (60) days from the Date that this Demand was served.

                    NOTICE PURSUANT TO RULES 1:5-1(a) and 4:17-4(c)

       PLEASE TAKE NOTICE that the undersigned attorney hereby demands that each party herein

serving pleadings and/or interrogatories and/or receiving answers hereto serve copies of all such

pleadings and answered interrogatories received from any party upon the undersigned.

       PLEASE TAKE FURTHER NOTICE that this is a continuing demand.
       UNN-L-000029-21 03/03/2021 8:56:37 AM Pg 6 of 8 Trans ID: LCV2021469028
Case 2:21-cv-07927-KSH-JSA Document 1-3 Filed 04/02/21 Page 6 of 8 PageID: 16




                                          CERTIFICATION

       I hereby certify that based upon information and belief and the information currently in our

possession, the matter in controversy is not the subject of any other action or proceeding or the subject

of a pending arbitration.

       I hereby certify that the within pleading is being filed and served within the time prescribed by

the Rules of this Court.

Dated: March 3, 2021

                                              GALLO VITUCCI KLAR LLP
                                              Attorneys for Defendants:
                                              WEREKO KWAME and
                                              ZOBENG TRUCKING, LLC



                                      By:     _________________________________
                                              ROBERTO D. URIBE, ESQ.
                                              NJ ID No.: 032222008
        UNN-L-000029-21 03/03/2021 8:56:37 AM Pg 7 of 8 Trans ID: LCV2021469028
Case 2:21-cv-07927-KSH-JSA Document 1-3 Filed 04/02/21 Page 7 of 8 PageID: 17




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Attorney for Defendants:
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Our File No.: GBSU-2021-1
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EVELYN BYRD and RENE GIBBS,                                        SUPERIOR COURT OF NEW JERSEY
                                                                   LAW DIVISION: UNION COUNTY
                          Plaintiffs,
                                                                   DOCKET NO: UNN-L-29-21
        -vs-
                                                                   CIVIL ACTION
WEREKO KWAME, ZOBENG TRUCKING, LLC,
JOHN AND JANE DOE 1-10 (FICTITIOUS                                 PROOF OF MAILING
UNIDENTIFIED INDIVIDUALS) AND ABC
CORPORATION 1-10 (FICTITIOUS
UNIDENTIFIED BUSINESS ENTITIES),

                           Defendants.
--------------------------------------------------------------X

        1.       I, the undersigned, am an attorney for Defendants, WEREKO KWAME and ZOBENG

TRUCKING, LLC, in the above-entitled action.

        2.       That on the 3rd of March 2021, deponent served the within Plaintiff their Answer to

Complaint and Certification via electronic filing:

                                         Jorge Hernandez, Esq.
                                    JORGE L. HERNANDEZ, LLC
                                    100 Jefferson Avenue, Suite 302
                                     Elizabeth, New Jersey 07201
                              JHERNANDEZ@LAWYERHERNANDEZ.COM

        I certify that the foregoing statements made by me are true. I am aware that if any of the
foregoing statements made by me are willfully false, I am subject to punishment.
     UNN-L-000029-21 03/03/2021 8:56:37 AM Pg 8 of 8 Trans ID: LCV2021469028
Case 2:21-cv-07927-KSH-JSA Document 1-3 Filed 04/02/21 Page 8 of 8 PageID: 18




                                                  ____________________________
                                                  ROBERTO D. URIBE, ESQ.
                                                  NJ ID No.: 032222008
